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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO

Jeffrey McGinnes, Wendy Berry, Lorri Hulings, and
Kathleen Sammons, individually and as                          Case No. 1:18-cv-00326-TSB
representatives of a class of similarly situated
persons, and on behalf of the FirstGroup America,              Judge Timothy S. Black
Inc. Retirement Savings Plan,

                         Plaintiffs,
v.

FirstGroup America, Inc., FirstGroup America, Inc.
Employee Benefits Committee, and Aon Hewitt
Investment Consulting, Inc.,

                         Defendants.


     PLAINTIFFS’ MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL

       Pursuant to the Parties’ Stipulated Protective Order (ECF No. 65) and Local Rule

5.2.1(a), Plaintiffs Jeffrey McGinnes, Wendy Berry, Lorri Hulings, and Kathleen Sammons,

individually and as representatives of a class of similarly situated persons, and on behalf of the

FirstGroup America, Inc. Retirement Savings Plan, (collectively “Plaintiffs”) hereby move for

leave to file under seal the following items in connection with Plaintiff’s Motion for Class

Certification:

           •     An unredacted version of Memorandum in Support of Plaintiffs’ Motion for Class

                 Certification;

           •     An unredacted version of the Preliminary Expert Report of Brian C. Becker,

                 Ph.D;

           •     The exhibits to the Declaration of Kai Richter listed below:

                    o EXHIBIT 15: AON-FGP-00273298;
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                      o EXHIBIT 19: AON-FGP-00110864;

                      o EXHIBIT 20: AON-FGP-00196907;

                      o EXHIBIT 28: AON-FGP-00038226;

                      o EXHIBIT 43: AON-FGP-00234723;

                      o EXHIBIT 44: AON-FGP-00069596;

                      o EXHIBIT 49: AON-FGP-00234713; and

                      o EXHIBIT 51: AON-FGP-00015221.

       In support of this Motion, Plaintiffs state as follows:

       1.      On July 8, 2021, the Parties filed a Stipulated Protective Order in this action.

(ECF No. 65.) Pursuant to the Stipulated Protective Order, a party may designate certain material

that it belies to be Confidential or Highly Confidential as “Protected Material.” Id. at ¶¶ 6-9.

       2.      The Stipulated Protective Order further provides:

       If a receiving party wishes to submit Protected Material to the Court that another
       party or nonparty designated Confidential or Highly Confidential, then the
       receiving party must file a motion for leave to file under seal, which will identify
       the document or other material for which the restriction is sought.

       Id. at ¶ 21.

       3.      The items that Plaintiffs seek to file under seal contain information that has been

produced and designated as “Confidential” or “Highly Confidential” by Defendant Aon Hewitt

Investment Consulting, Inc. (“Aon Hewitt”).

       4.      Plaintiffs take no position on whether Aon Hewitt’s confidentiality designations

are appropriate or supported by law. Pursuant to the Stipulated Protective Order, it shall be Aon

Hewitt’s obligation to support this motion as the party who designated the underlying material

“Confidential” or “Highly Confidential”, and Aon Hewitt shall have seven (7) business days in

which to file a response in support of the motion to seal. Id. at ¶ 21.
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       Subject to Aon Hewitt making the necessary showing, Plaintiffs respectfully request

leave to file the foregoing items under seal.



Dated: February 11, 2022                        Respectfully submitted,

                                                NICHOLS KASTER, PLLP
                                                By: /s/ Kai H. Richter
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                                                Kai H. Richter, MN Bar No. 0296545*
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies on this 11th day of February, 2022, that the undersigned

electronically filed and served the foregoing document through this Court’s ECF system.


                                                                  /s/ Kai H. Richter
                                                                  Kai H. Richter




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